Case 3:05-cr-30015-SMY     Document 440 Filed 10/13/06 Page 1 of 1      Page ID
                                     #994
                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,           )
                                    )
                         Plaintiff, )
                                    )
            vs.                     )            NO. 05-CR-30015-DRH
                                    )
CARL L. PARKER,                     )
                                    )
                         Defendant. )


                                    ORDER



HERNDON, District Judge:

            Before the Court is Defendant’s Motion to Continue Sentencing.

(Doc. 439.) The motion is unopposed. The Court, being fully advised in the

premises, GRANTS Defendant’s motion. (Doc. 439.) The sentencing is now set

for April 13, 2007 at 10:30 a.m.

            IT IS SO ORDERED.

            Signed this 13th day of October, 2006.



                                           /s/      David RHerndon
                                           United States District Judge




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